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                    Exhibit Y
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    From: Tomita, William
    Sent: Tuesday, January 06, 2009 3:04 AM
    To: DeSanto, Peter; Becker, Scott; Osei, Barima
    Cc: Park, Raymond
    Subject: CCB
    4 trades:

    Bot long 17 mm shs w/ CLSA.
    Long sold 17 mm•shs w/ Daiwa.

    Sold short 50 mm shs w/ Norn.
    Sold short 43 mm shs w/ Fox.

    Pis settle shorts at MS PB.




                                                                        GOVERNMENT
                                                                          EXHIBIT
                                                                           2754
                                                                          22 Cr. 240 (AKI-I)




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